                      EXHIBIT G




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  VIA CERTIFIED MAIL                                                                                   Tui^Ai^ i t n
                                     »                                                 Nueva Vida Media LLC
  VIA EMAIL (dwilkerson^vwlawfirm.com)



  The Van Winkle Law Firm

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        Re: ALLEGED Infnngement of"PowerChurch Software** Trademark, Reg. No.5862646
                                      and *'PowerChurch Plus!**, Reg No. 1412159


C&J Software Inc and Representative,

On Friday August 4, 2023 we received a certified letter demanding a cease and desist on your part for the alleged
infringement of the trademark of"PowerChurch Software" and "PowerChurch Plus!" Until receipt of this letter
we were not aware of any trademark registered or any company providing the services we provide to non-profits
namely churches. We were until now unaware of your company.

We are not a software company, we are implementors of technology that include web site design and the use of
tertiary software being implemented to provide churches with the services we help them with. Your company is a
software development company with sole purpose of a church management system.

Furthermore our service offering is named "iPowered Church" which stands for independently powered church.
Your registered trademark is "PowerChurch Software" and "PowerChurch Plus!". Our focus it to help the church
own their own data not have someone host it for them and thereby own the data, which is something you offer.
The goal is for our church clients to eliminate the middleman in everything involving their digital footprint; thereby
eliminating the chains d^at bind them. As well as giving them the full protection of the 501C3 protection of data.

We find it very difficult to confuse our companies and services due to the above as well as our social media
presence is much greater than yours. As of this date your Instagram following is non-existant. As well your
Facebook page has a mere 32 likes and 40 followers (ht:tps:/'.''www.facebook.com/PovverChurch5oftv/are). Our
Facebook currently has 673 likes and 670 followers. Our Instagram account has 532 followers.

In addition to the above over reach of your claim. The Lanham Act provides for a cause of action for infringement
of both registered and unregistered trademarks.(15 USC Section 1 1 14(l)(a); 15 USC Section I l25(a)(l)A).) The
9th Circuit Court of Appeals has laid out some elements to help determine whether it creates an infringement
lawsuit.


The complaining party must prove that a mark is similar, and it was used without the consent of the moving party
in a manner that is likely to cause confusion among ordinary consumers as to the source, sponsorship, affiliation,
or approval of the goods. The likelihood of confusion can occur at the time of the sale, when there is initial
interest by a consumer, or even after the sale, if the confusion causes a consumer to no longer buy a service or
product connected to the mark.




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Because of the 9*'' Circuit Court ruling and delineation, it would appear that it would benefit your company to be
associated with us not hinder. Although there is no association between our services. Instead of reaching out and
seeing how we as an implementor can work together with you - your choice was to attempt to stifle free
enterprise and competition with a over-reach of your trademark usage.

The court also considers things like the strength of the original mark, the similarity, the proximity of the products
and marketing channels, whether there's actual confusion, the defendant's intent, the quality of respective
products, and the sophistication of the customers.(Polaroid Corp. v. Polard Elecs. Corp. 287, F.2d. 492,495 (2d
Cir. 1961.). To this - we reside in separate states, your original mark is nowhere resembling ours, as well your
original mark is for "PowerChurch Software" we are simply "iPoweredChurch". Your trademark makes no claims
to font or color of which we do not infringe on either. Furthermore the fact of you registered "PowerChurch
Software" and then also registered "PowerChurch Plus!" Indicates that the US Patent and Trademark office
determined significant difference between the two. We believe that they will have the same finding between our
"iPoweredChurch" and your trademark.

In summary, we will not cease and desist to use "iPowered Church" as a service offering name, however as a
courtesy and offer to resolve this as the clients we represent (Christians) we will add to our website on the footer
"we have no association, affiliation, or endorsement from or for Power Church Software or their services". We
will do this upon your acceptance of this as a resolution and retain it there for 3 years.

If you would like to continue with this over-reach of your trademark - please advise us so that we can notify our
attorney on record and begin to document expenses for attorney fees on our countersuit. If the above solution is
acceptable, please advise in writing (email or certified letter) and we will continue forward with business and desire
the best for your company. Perhaps we can help you with your website which appears to not have refreshed in
design since Dec. 27, 2009(per web.archive.org). You can visit our B2B service site on ht:tps.7/NuevaVida.media.

Thank you aiyl mayy taoa
                    God continue
                         contir  to richly bless you and your company.

                              \CA€i,
Nueva Yida Media LLC
Dr. MarcSAngelo Garcia
President Nueva Vida Media LLC
8/8/2023




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